         Case 8:18-cv-03854-GLS Document 54 Filed 07/19/21 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                    *
RICKEY J. HARRIS,                   *
                                    *
      Plaintiff,                    *
                                    *
v.                                  *        Civil Action No.: GLS 18-3854
                                    *
ADVANTAGE LENDING, INC. DBA:        *
A-1 PAWNBROKERS 4 & 5, et al,       *
                                    *
      Defendants.                   *
                                    *
*************************************************************************
                                  ORDER

       Upon consideration of the parties’ “Joint Status Report,” (ECF No. 51), it is this 19th day

of July, 2021, hereby ORDERED, that

       (1) The parties’ request to modify the Scheduling Order is GRANTED;

       (2) The parties shall submit a Joint Status Report in accordance with the schedule below

           that includes their trial availability for January 2022 through June 2022;

       (3) The revised deadlines are as follows:

                          Event                                            Deadline

Completion of discovery; submission of post- discovery
                                                                       August 30, 2021
Joint Status Report

Requests for Admission                                                September 6, 2021

Dispositive pretrial motions deadline                                 November 30, 2021

Oppositions to dispositive pre-trial motions                          December 14, 2021

Replies to oppositions to dispositive pre-trial motions               December 21, 2021



                                                                           /s/
                                                             The Honorable Gina L. Simms
                                                             United States Magistrate Judge
